Case 3:17-cv-01104-VLB Document 98-15 Filed 12/30/19 Page 1 of 11




         Exhibit D-15
      Case 3:17-cv-01104-VLB Document 98-15 Filed 12/30/19 Page 2 of 11



                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

                                         :
SUSAN BYRNE,                             :
    Plaintiff                            :
                                         :      CIVIL CASE NO.:
v.                                       :      3:17-cv-01104 (VLB)
                                         :
YALE UNIVERSITY,                         :
     Defendant                           :      DECEMBER 30, 2019
                                         :

                  DEFENDANT’S MOTION IN LIMINE TO EXCLUDE
        EVIDENCE OF PLAINTIFF’S OPINIONS ABOUT HER OWN SCHOLARSHIP

      Defendant Yale University (“Yale”) hereby moves in limine to exclude

evidence of Plaintiff’s opinion that the quality of her scholarship met Yale’s

rigorous tenure standards. Plaintiff has repeatedly argued that she believes she

deserves tenure at Yale, and that the mere fact that she was denied tenure supports

her retaliation claim. In denial of tenure cases like this one, however, courts have

uniformly held that differing opinions on a tenure candidate’s qualifications cannot

support a conclusion of illegal animus.

      Because Plaintiff’s opinions about her own scholarship cannot be used to

support her claims in this case, they are irrelevant, and the Court should thus

exclude such evidence pursuant to FRE 401. Moreover, permitting such evidence

is little more than an invitation to the jury to substitute Plaintiff’s opinion for Yale’s

academic judgment, which would be an impermissible infringement of Yale’s

academic freedom.
         Case 3:17-cv-01104-VLB Document 98-15 Filed 12/30/19 Page 3 of 11



   I.       Relevant Background

         Plaintiff, a former Associate Professor at Yale, asserts claims of retaliation,

negligent misrepresentation, and breach of contract in connection with her

department’s negative vote on her tenure case in February 2016.

   II.      Plaintiff Relies Heavily, and Impermissibly, on her Own Opinion of her
            Scholarship.

         In her deposition, Plaintiff relied on her own belief that she is qualified for

tenure, testifying: “I believe fully and without any hesitation that I did deserve

tenure at Yale.” Byrne Tr., pp. 168:8 – 169:10. Discovery demonstrated that she

repeatedly relied on this belief to support her various claims, often refusing to

accept that someone may have a lower opinion of her scholarship than she does.

Such evidence, however, cannot be used to support her claims of retaliation. See

Jackson v.       Harvard   Univ.,   721 F. Supp. 1397, 1443 (D.           Mass. 1989)

(“Pronouncements by plaintiff and her supporters that she was qualified for tenure,

even more qualified than tenured males, may be true, but they do not constitute

evidence of sex bias”). Accordingly, it is irrelevant and thus inadmissible.

         The Second Circuit has held that differing opinions cannot support a

conclusion of illegal animus in a tenure case. See Weinstock v. Columbia Univ.,

224 F.3d 33, 43 (2d Cir. 2000). This is so because differences of opinion are

commonplace when it comes to the question of scholarship in a tenure denial case.

Zahorik v. Cornell Univ., 729 F.2d 85, 93 (2d Cir. 1984). “[T]enure decisions are a

source of unusually great disagreement. Because the stakes are high, the number

of relevant variables is great and there is no common unit of measure by which to

judge scholarship, the dispersion of strongly held views is greater in the case of

tenure decisions than with employment decisions generally.” Id.; see also

                                            2
      Case 3:17-cv-01104-VLB Document 98-15 Filed 12/30/19 Page 4 of 11



Rajaravivarma v. Bd. of Trs. For the Conn. State Univ. Sys., 862 F. Supp. 2d 127,

166 (D. Conn. 2012) (VLB). As a result, Plaintiff’s opinion of herself simply has no

bearing on any issue in the case.

      Further, as this Court has held, it is not the court’s role to “engage in

inappropriate substitution of its own judgment based upon its nascent knowledge

of [university] tenure criteria.” Rajaravivarma, 862 F. Supp. 2d at 166-68. Nor is it

the jury’s role to do so. Indeed, it is well established that it is “[a] university’s

prerogative to determine for itself on academic grounds who may teach is an

important part of our long tradition of academic freedom." Lieberman v. Gant, 630

F.2d 60, 67 (2d Cir. 1980) (internal quotation marks omitted). "It is not the role of

the federal courts to set aside decisions of school administrators which the court

may view as lacking a basis in wisdom or compassion." Wood v. Strickland, 420

U.S. 308, 326, 95 S. Ct. 992, 43 L. Ed. 2d 214 (1975).

      If the jury is allowed to hear Plaintiff’s ardently expressed opinions about her

own qualifications, the risk is that the jury will substitute Plaintiff’s opinion of her

own qualifications for Yale’s opinion.         This conflicts with academic freedom

principles, which dictate that a jury must not substitute a dissenting opinion—

expressed by Plaintiff or anyone else—for Yale’s academic judgment.

      Accordingly, the court should exercise its authority to bar irrelevant

evidence and protect Yale’s academic freedom, and thus should exclude evidence

of Plaintiff’s opinion about her own qualifications.




                                           3
          Case 3:17-cv-01104-VLB Document 98-15 Filed 12/30/19 Page 5 of 11



   III.      Conclusion

          For all these reasons, Defendant Yale University respectfully moves to

exclude evidence of Plaintiff’s opinions about her own scholarship and whether it

satisfies Yale’s tenure standards.

                                           DEFENDANT,
                                           YALE UNIVERSITY

                                     By:   /s/ David C. Salazar-Austin
                                           Victoria Woodin Chavey (ct 14242)
                                           David C. Salazar-Austin (ct 25564)
                                           Jackson Lewis P.C.
                                           90 State House Square, 8th Floor
                                           Hartford, CT 06103
                                           P: (860) 522-0404
                                           F: (860) 247-1330
                                           victoria.chavey@jacksonlewis.com
                                           david.salazar-austin@jacksonlewis.com




                                           4
      Case 3:17-cv-01104-VLB Document 98-15 Filed 12/30/19 Page 6 of 11



                            CERTIFICATION OF SERVICE

             I hereby certify that on December 30, 2019, a copy of the foregoing

was filed electronically. Notice of this filing will be sent to all parties by operation

of the Court’s electronic filing system. Parties may access this filing through the

Court’s system.



                                               /s/ David C. Salazar-Austin
                                               David C. Salazar-Austin




                                           5
       Case 3:17-cv-01104-VLB Document 98-15 Filed 12/30/19 Page 7 of 11


                           SUSAN BYRNE vs YALE UNIVERSITY
                                Susan Byrne on I 0/19/2018

   1                      UNITED STATES DISTRICT COURT

   2                                    for the

   3                         DISTRICT OF CONNECTICUT

   4

   5
          SUSAN BYRNE,                       } Civil Case Number:
   6         Plaintiff,                      } 3:17-cv-01104-VLB
                                             }
   7                vs.                      } CONFIDENTIAL TESTIMONY
                                             } Page 211 through 214
   8      YALE UNIVERSITY,                   }
             Defendant.                      }
   9

 10

 11

 12

 13           DEPOSITION OF: Susan Byrne
              TIME:          10:05 a.m.
 14           DATE:          October 19, 2018
              HELD AT:       Jackson Lewis, PC
 15                          90 State House Square - 8th Floor
                             Hartford, Connecticut
 16

 17

 18

 19

 20

 21

 22
                    Reporter:  Annette Brown, LSR, No. 0009
 23                    Brandon Huseby Reporting & Video
                               249 Pearl Street
 24                     Hartford, Connecticut 06103
                           Telephone:  860.549.1850
 25                           Fax:  860.549.1537


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       Case 3:17-cv-01104-VLB Document 98-15 Filed 12/30/19 Page 8 of 11


                           SUSAN BYRNE vs YALE UNIVERSITY
                                Susan Byrne on 10/19/2018

   1     vote and gone to the divisional level?
   2         A     I'm sorry.        You asked for what I had as to
   3      information?
   4         Q     What information you have.                Was there any
   5     information available to you about what your
   6     candidacy would have looked like or how it would have
   7     been received at the divisional level?
   8         A     I think it would have been voted unanimously,
   9     yes.     The same way it was for my last promotion.
 10          Q     I understand that may be what you think, but
 11      what information do you have                   other than the fact
 12      that you had a unanimous vote at the divisional level
 13       for your prior promotion, what information do you
 14      have that suggests to you what the outcome would have
 15      been at the divisional level for the tenure case?
 16                       MR. PARENTEAU:          Object to the form of
 17      that question and also disregard comments.                       Just
 18      answer questions.
 19          A     The weight of my scholarship and the
 20      importance in the field is what I base my response
 21      on, that yes, it would have been positive at the
 22      divisional level.
 23      BY MS. CRAVEY:
 24          Q     And when say the weight of your scholarship,
 25      what do you mean?

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       Case 3:17-cv-01104-VLB Document 98-15 Filed 12/30/19 Page 9 of 11


                           SUSAN BYRNE vs YALE UNIVERSITY
                                 Susan Byrne on 10/1912018

   1         A     I produce quality work that changes my field.
   2     I have changed my field in a number of ways.                        That
   3     scholarship is what has gotten me the name that I
   4     have in my field.           It's why I get invited to
   5     international events.             It's why I get invited to give
   6     talks.      It's why all of that happens.
   7               People like what I do because it matters                         my
   8     field, and that is why I believe fully and without
   9     any hesitation that I did deserve to be tenured at
 10      Yale.
 11          Q     And so when you said the weight of your
 12      scholarship and the importance of your work, you're
 13      talking -- you're basically saying the same thing,
 14      the importance of your scholarship is what you just
 15      described?
 16          A     If I understand the question, yes.
 17          Q     Okay.     So if you turn in --
 18          A     Go ahead.       I'm just going to get more water on
 19      the way.       I can hear you.          Sorry.
 20          Q     If you turn to Exhibit 4 please and
 21      speci     cally page 32.
 22          A     I'm there.
 23          Q     Okay.     This is -- this is Section H describing
 24      each of the faculty positions at Yale, and there's --
 25      you can see that there's a general description of the

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       Case 3:17-cv-01104-VLB Document 98-15 Filed 12/30/19 Page 10 of 11


                                           SUSAN BYRNE vs YALE UNIVERSITY
                                                Susan Byrne on 10/I 9/2018

   1                                               JURAT

   2

   3

   4      I, SUSAN BYRNE, do hereby certify that the foregoing
          testimony given by me on October 19, 2018, is true
   5      and accurate, including any corrections noted on the
          corrections page, to the best of my knowledge and
   6      belief.

   7

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         S./-ciJ) e,   0 /-   A/'1!,v!,\}I c.___
         Co"'-"".+) of- C/oJIC.
 13
          At lle,vl~vson..-, /11\/ in said county of                       (_/ccri<
 14       this 7 1'' day of \)ec81t1b•e,,,-, , 2018,                       personally
          appeared, SUSAN BYRNE, and she made                              oath to the truth
 15       of the foregoing corrections by her                              subscribed.

 16

 17

 18       Before me, Fri;,,,K. L. 'j~.0\CVM0vlr...--              , Notary Public.
 19

 20       My Commission Expires:                       June II,   ccJLL

 21
                                                            ,l~~'fSl.~\n'(ij~~~~

                                                                      FRANK L. ST. GERMAIN
 22                                                                  Nota,y Public • State of Nevada
                                                                            County of Clari<
 23                                                                    APPT. NO. 18-3336-1
                                                                     My ,¾Jp, Expires June 11, 2022
 24

 25


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       Case 3:17-cv-01104-VLB Document 98-15 Filed 12/30/19 Page 11 of 11


                           SUSAN BYRNE vs YALE UNIVERSITY
                                Susan Byrne on 10/19/2018

   1                              CERTIFICATION

   2         I, ANNETTE F. BROWN, LSR and Notary Public within
          and for the State of Connecticut, do hereby certify
   3      that I took the deposition of SUSAN BYRNE, on October
          19, 2018.
   4
             I further certify that the above-named deponent
   5      was by me duly sworn to testify to the truth, the
          whole truth and nothing but the truth concerning
   6      his/her knowledge in the matter of the case of, BYRNE
          v. YALE UNIVERSITY.
   7
             I further certify that the testimony was taken by
   8      me stenographically and reduced to typewritten form
          under my direction by means of COMPUTER ASSISTED
   9      TRANSCRIPTION; and I further certify that said
          deposition is a true record of the testimony given by
 10       said witness.

 11            I further certify that I am neither counsel for,
          related to, nor employed by any of the parties to the
 12       action in which this deposition was taken; and
          further, that I am not a relative or employee of any
 13       attorney or counsel employed by the parties hereto,
          nor financially or otherwise interested in the
 14       outcome of the action.

 15          WITNESS my hand and my seal this 2nd day of
          November, 2018.
 16

 17

 18

 19

 20

 21
                   Annette Brown, LSR No. 00009
 22                Notary Public
                   My Commission Expires:
 23                November 30, 2019

 24

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